Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.1 Page 1 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.2 Page 2 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.3 Page 3 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.4 Page 4 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.5 Page 5 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.6 Page 6 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.7 Page 7 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.8 Page 8 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.9 Page 9 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.10 Page 10 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.11 Page 11 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.12 Page 12 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.13 Page 13 of 14
Case 3:01-cv-00671-NLS Document 1 Filed 04/17/01 PageID.14 Page 14 of 14
